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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     11/15/2021

  Jeronimo Tolentino,

                         Plaintiff,
                                                                       20-cv-8812 (AJN)
                 –v–
                                                                            ORDER
  Thai Smile Restaurant Corp., et al.,

                         Defendants.




ALISON J. NATHAN, District Judge:

       The Court is in receipt of the parties’ joint letter proposing trial dates for this matter.

Dkt. No. 46. The Court sets a tentative date for trial in this case on Monday, November 8, 2022.

As detailed in Dkt. No. 41, the Court will request this date in accordance with the District’s

COVID rules for centralized jury trial scheduling. It is further ORDERED that a final pretrial

conference will occur on Monday, October 24, 2022 at 11:00 AM.

       The parties are ORDERED to confer and jointly propose a schedule for the pre-trial

submissions listed in Rule 6 of this Court’s Individual Rules in light of this trial date on or before

December 6, 2021.

       SO ORDERED.


Dated: November 15, 2021
       New York, New York
                                                    __________________________________
                                                             ALISON J. NATHAN
                                                           United States District Judge
